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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION


IN RE: BLACKBAUD, INC. CUSTOMER                             Case No. 3:20-mn-02972-JMC
DATA SECURITY BREACH LITIGATION
                                                                    MDL No. 2972

                                                     ORDER ON PLAINTIFFS’ SECOND SET
                                                      OF REQUESTS FOR PRODUCTION




THIS DOCUMENT RELATES TO: ALL ACTIONS

I.     DISCOVERY

       On October 8, 2021, Plaintiffs served Defendant Blackbaud, Inc. (“Blackbaud”) with

Plaintiffs’ Second Set of Requests for Production (“Second Production Requests”). In the Second

Production Requests, Plaintiffs request that Blackbaud provide access to Plaintiffs’ counsel (and

any designated consulting experts) to inspect the “customer database backup files which were

exfiltrated, copied, or potentially exfiltrated or copied, during the ransomware attack.” The Court

finds good cause for the inspection of such customer database backup files, solely as they pertain

to Blackbaud’s U.S. customers (collectively, the “Backup Files”). The Court therefore orders the

inspection of Backup Files, beginning with the Backup Files belonging to five (5) sample

Blackbaud customers, and continuing with the production of additional Blackbaud customer

Backup Files, on a rolling basis, as agreed to by the Parties or as otherwise directed by the Special

Master. Blackbaud will provide notification to its customers, to whom the contents of the Backup




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Files belong, of the inspection(s) contemplated by this Order via email or first class mail, when

needed and as appropriate consistent with any schedule of inspection issued by the Special Master.

II.    AMENDMENT TO STIPULATED CONFIDENTIALITY ORDER

       As recognized in the Stipulated Confidentiality Order entered previously by the Court (see

Dkt. No. 63), disclosure and discovery activity in this Litigation may involve the production of

information that warrants additional protection from public discovery and from use for any purpose

other than prosecuting and defending this Litigation. This information includes the Backup Files

to which Plaintiffs will have access, as set forth in Section I. Accordingly, to accommodate the

flow of discovery material, the Court orders that the following paragraphs shall apply to the

Backup Files, and the information contained therein, and that all other sections of the Stipulated

Confidentiality Order shall continue to apply unless specifically stated otherwise below:

       A.      The Backup Files, and all information contained therein, shall be deemed

“CONFIDENTIAL – TRIAL COUNSEL ONLY – SECURITY SENSITIVE INFORMATION”

under the Stipulated Confidentiality Order and shall be treated accordingly.

       B.      The Backup Files, and all information contained therein, shall be stored and hosted

in an environment maintained by Blackbaud (the “Virtual Environment”).                 The Virtual

Environment shall be the sole method by which Plaintiffs’ Trial Counsel and/or designated

Expert(s) can access the Backup Files. Such environment shall be deemed a “Document Platform”

under the Stipulated Confidentiality Order and shall be treated accordingly.

       C.      Blackbaud and Plaintiffs shall work with the Special Master to develop

requirements and protocols to balance the needs of the Litigation with the security, confidentiality,

and integrity of the Backup Files, including to address the following issues:


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                  1. Technical requirements for the Virtual Environment (e.g., required

                      operating system, software/hardware, computing power, etc.).

                  2. Configuration of the Virtual Environment, including technical limitations,

                      where necessary, on Plaintiffs’ ability to print, copy, duplicate, transmit,

                      export, or otherwise download the Backup Files and the contents included

                      therein.

                  3. Protocol addressing access to the Virtual Environment, including

                      credentialing, account login and password requirements, logging and

                      monitoring and related administrative tasks.

                  4. Protocols relating to Plaintiffs’ Trial Counsel and/or its designated

                      Expert(s) egress of information from the Virtual Environment, including

                      personally identifiable information (e.g., additional notice and logging

                      requirements), and the storage and security of such information. The parties

                      shall also reach an agreement on protocols relating to taking written or

                      electronic notes relating to the Backup Files, and how such information

                      shall be treated and used.

                  5. Data destruction requirements relating to any information accessed or

                      exfiltrated from the Virtual Environment, including as it relates to timing

                      and method of destruction.

The parties will work collaboratively with the Special Master to address the functions requested

by Plaintiffs’ Trial Counsel and their designated Expert(s) to ensure that the Virtual Environment

is configured to allow for the adequate inspection of the Backup Files.


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       D.      Allocation of costs related to the production of data pursuant to this Order will be

determined by separate briefing and order to be ruled upon by the Special Master.

       E.      Plaintiffs’ Trial Counsel and their designated Expert(s) agree not to attempt to hack,

alter, manipulate, make changes, exploit, introduce malicious code, or otherwise do anything to

disable, destroy, alter, backwards engineer, defeat, or use the Virtual Environment in any way that

the Parties have not expressly intended in this Order.

       F.      Blackbaud and Blackbaud’s Trial Counsel will not examine or access any work

done by Plaintiffs’ Trial Counsel and/or Plaintiffs’ Expert(s) associated with the Backup Files or

any logs that show what work was done in the Virtual Environment without the express permission

of Plaintiffs’ Trial Counsel, unless such access or activity is required for administrative functions

(including cyber and network security monitoring) or to prevent or resolve an event that might

compromise, destroy or disable the Virtual Environment, the security of the data stored on it or its

operation. Excluding automated logging and monitoring activity, if physical access to the Virtual

Environment by Blackbaud personnel is necessary, Blackbaud will provide advance notice—to

the extent possible—to Plaintiffs’ Trial Counsel and their designated Expert(s), to be determined

in the process contemplated by Paragraph C, above. Blackbaud agrees that the access or activity

will be limited to that necessary to resolve the issue. Blackbaud further agrees that if any

information is observed by Blackbaud’s personnel regarding Plaintiffs’ or Plaintiffs’ Experts’

activity, that the content of the information will not be shared with Blackbaud’s management,

witnesses, Experts or Blackbaud’s Trial Counsel unless agreed to by the Parties or ordered by the

Special Master or the Court, and that such disclosure will not waive any applicable work-product

protections, if any, for such information.


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       G.      Concerning Plaintiffs’ access rights, access to the Virtual Environment shall be

limited to those individuals identified in Paragraphs III.B(ii) and (viii) of the Stipulated

Confidentiality Order. Plaintiffs shall provide the Special Master and Blackbaud with a list of all

such individuals before those individuals are granted access.        The list provided under this

subsection shall include: each individual’s name, address, and current employer. Each individual

granted access will have a unique login. Account login credentials may not be shared or used

among individuals.

       H.      With the exception of individuals identified in Paragraph III.B(ii) of the Stipulated

Confidentiality Order, any individual who is granted access to the Backup Files or information

derived therefrom must execute the Acknowledgement attached hereto as Exhibit A before he or

she accesses or views the Backup Files or information contained therein or derived therefrom.

       I.      No information contained within the Backup Files, or information derived

therefrom, shall be used by any person or entity receiving access to such information for any

purpose other than the prosecution of the above-captioned case, and shall not be used to (i) contact

any identified constituent(s) at any time during or after this Litigation, even if such contact is in

any way related to the prosecution of the above-captioned case, without leave of Court; and (2)

solicit any clients or potential clients, especially as it relates to the prosecution of the above-

captioned case.

       J.      If Plaintiffs’ Trial Counsel and/or Plaintiffs’ Expert(s) learn that, by inadvertence

or otherwise, the Backup Files or the materials related to the Backup Files have been disclosed to

any individual/entity that is not authorized to access the Backup Files under this Order, then




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Plaintiffs’ Trial Counsel will notify Blackbaud’s Trial Counsel within twenty-four (24) hours of

such discovery.

       K.      At the point in time agreed to by the Parties or otherwise as directed by the Special

Master, Plaintiffs’ Trial Counsel and its Expert(s) access to the Backup Files shall cease, and

Plaintiffs’ Trial Counsel and its Expert(s) shall destroy any material in their possession related to

the Backup Files and shall certify in writing to the Special Master or to the Court that such

information has been disposed of securely consistent with the provisions outlined in the Stipulated

Confidentiality Order. Blackbaud shall be permitted to share such certification of destruction with

its Customers. Plaintiffs’ Trial Counsel and Plaintiffs’ Expert(s) shall comply with all reasonable

directions provided by Blackbaud with respect to the secure disposal of the materials relating to

the Backup Files. To the extent the provisions of this Amendment conflict with any provisions of

the Stipulated Confidentiality Order governing “CONFIDENTIAL – TRIAL COUNSEL ONLY

– SECURITY SENSITIVE INFORMATION,” or impose more stringent obligations with respect

to treatment of the Backup Files than the Stipulated Confidentiality Order, the provisions of this

Order shall control.

       L.      This Order shall survive the final disposition of this Litigation, by judgment,

dismissal, settlement, or otherwise. Even after final disposition of this Litigation, the obligations

imposed by this Order shall remain in effect until Blackbaud agrees otherwise in writing or a court

order otherwise directs.

 Respectfully submitted,

 MOTLEY RICE LLC                                     DICELLO LEVITT GUTZLER LLC
 /s/ Marlon E. Kimpson                               /s/ Amy E. Keller
 Marlon E. Kimpson (SC Bar No. 17042)                Amy E. Keller
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Co-Lead Counsel for Defendant Blackbaud, Inc.

IT IS SO ORDERED.




                                                   United States District Judge
February 23, 2022
Columbia, South Carolina




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                                          EXHIBIT A

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION


                                               Case No. 3:20-mn-02972-JMC

IN RE: BLACKBAUD, INC.,                        MDL No. 2972
CUSTOMER DATA SECURITY
BREACH LITIGATION                              ACKNOWLEDGMENT OF
                                               UNDERSTANDING AND AGREEMENT
                                               TO BE BOUND BY CONFIDENTIALITY
                                               ORDER



        The undersigned hereby acknowledges that he or she has read the Stipulated
Confidentiality Order dated March 29, 2021 and the Order on Plaintiffs’ Second Set of Requests
for Production dated _______, 2022 (the “Confidentiality Orders”) in the above captioned action,
understands the terms thereof, and agrees to be bound by such terms. The undersigned submits to
the jurisdiction of the United States District Court for the District of South Carolina in matters
relating to the Confidentiality Orders and understands that the terms of the Confidentiality Orders
obligate him/her to use discovery materials designated CONFIDENTIAL or CONFIDENTIAL –
TRIAL COUNSEL ONLY or CONFIDENTIAL – TRIAL COUNSEL ONLY – SECURITY
SENSITIVE solely for the purposes of the above-captioned action, and not to disclose any such
Confidential Material to any other person, firm or concern, or in any manner not specifically
authorized by the Confidentiality Orders.

        The undersigned acknowledges that violation of the Confidentiality Orders may result in
penalties for contempt of court.

               Name:
               Job Title:
               Employer:
               Business Address:


Date:
                                                            Signature


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